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                     7   Attorneys for
                         First Idea International LTD
                     8
                     9                        UNITED STATES DISTRICT COURT
                  10                         CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12     IN RE EX PARTE APPLICATION        Case No. 2:22-MC-00250-JAK-AFM
                         OF PATOKH CHODIEV FOR AN
                  13     ORDER TO TAKE DISCOVERY           [DISCOVERY MATTER]
                         PURSUANT TO 28 U.S.C. § 1782
                  14                                       FIRST IDEA INTERNATIONAL
                                                           LTD’S NOTICE OF MOTION AND
                  15                                       MOTION TO QUASH SUBPOENAS
                                                           ISSUED PURSUANT TO
                  16                                       APPLICANT PATOKH CHODIEV’S
                                                           EX PARTE APPLICATION FOR AN
                  17                                       ORDER TO TAKE DISCOVERY
                                                           PURSUANT TO 28 U.S.C. § 1782
                  18
                                                           Date: June 6, 2023
                  19                                       Time: 10:00 a.m.
                                                           Place: Temple St., Ctrm #780, 7th Fl.
                  20
                                                           Honorable Alexander F. MacKinnon
                  21
                                                           Discovery Fact Cut-Off:       None
                  22                                       Final Pretrial Conference:    None
                                                           Jury Trial:                   None
                  23
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M ANATT , P HELPS &                                                             NOTICE OF MOTION AND
  P HILLIPS , LLP
  ATTORNEYS AT LAW
                                                                                    MOTION TO QUASH
    LOS ANGELES
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                     1         PLEASE TAKE NOTICE that on June 6, 2023, at 10:00 a.m., or as soon
                     2   thereafter as the matter may be heard, in Courtroom 780 of the Honorable
                     3   Alexander F. MacKinnon, located at 255 E. Temple St., Los Angeles, California
                     4   90012, First Idea International LTD (“First Idea”) respectfully moves for an order
                     5   (or a report and recommendation) quashing the subpoenas issued pursuant to
                     6   Applicant Patokh Chodiev’s Ex Parte Application for an Order to Take Discovery
                     7   Pursuant to 28 U.S.C. § 1782, and an order granting sanctions against Chodiev for
                     8   the attorneys’ fees and costs of defending against or otherwise responding to the
                     9   subpoenas. In the alternative, First Idea moves for a protective order narrowing the
                  10     subpoenas and an order shifting the fees and costs of responding to the subpoenas.
                  11           This motion is made pursuant to Rule 45 of the Federal Rules of Civil
                  12     Procedure, Local Rule 37 of the Central District of California, the due process
                  13     clause of the Fifth Amendment of the United States Constitution, and the Court’s
                  14     inherent supervisory powers. This motion is based on this Notice, the Joint
                  15     Stipulation Re First Idea International LTD’s Motion to Quash Subpoenas Issued
                  16     Pursuant to Applicant Patokh Chodiev’s Ex Parte Application For an Order to Take
                  17     Discovery Pursuant to 28 U.S.C. § 1782 or, In the Alternative, Motion for a
                  18     Protective Order, and Request for Sanctions, the Declarations of Naeun Rim,
                  19     Jonathan Gray, and Louis Godfroi, all accompanying exhibits, all pleadings and
                  20     records on file in this action, and on such other evidence or argument as may be
                  21     presented to the Court.
                  22           In accordance with Local Rule 37-1, the parties have met and conferred
                  23     extensively regarding the substance of this motion. The parties met and conferred
                  24     telephonically on January 19, 2023, January 30, 2023, February 15, 2023, February
                  25     23, 2023, April 14, 2023, and April 26, 2023. (Declaration of Naeun Rim (“Rim
                  26     Decl.”) ¶¶ 4, 7, 12.) The parties also exchanged numerous written meet-and-confer
                  27     correspondence, including on February 9, 2023, February 13, 2023, February 24,
                  28     2023, March 3, 2023, March 8, 2023, April 28, 2023 and May 4, 2023. (See Rim
M ANATT , P HELPS &
                                                                                       NOTICE OF MOTION AND
  P HILLIPS , LLP                                                 1
  ATTORNEYS AT LAW                                                                         MOTION TO QUASH
    LOS ANGELES
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                     1   Decl. Exs. C-J.) Despite these extensive meet-and-confer efforts, the parties have
                     2   been unable to resolve the dispute, and therefore, First Idea respectfully seeks the
                     3   Court’s assistance.
                     4         Pursuant to Local Rule 37-2.1, a copy of the Application (Dkt. 1-1), and
                     5   Declarations of Kate Maguire (Dkt. 1-2) and Robert W. Mockler (Dkt. 1-3) filed on
                     6   December 19, 2022, are attached as Exhibits K-L to the Declaration of Naeun Rim
                     7   in Support of the Joint Stipulation.
                     8
                     9   Dated:    5/16/2023                       MANATT, PHELPS & PHILLIPS, LLP
                  10
                  11                                               By: /s/ Naeun Rim
                                                                      Naeun Rim
                  12                                                  Kishan H. Barot
                                                                      Noro Mejlumyan
                  13                                                  Attorneys for
                                                                      First Idea International LTD
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  P HILLIPS , LLP                                                  2
  ATTORNEYS AT LAW                                                                          MOTION TO QUASH
    LOS ANGELES
